IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF KANSAS

 

 

 

 

IN THE MATTER OF: )
) Case No. 19-22400
BREAD & BUTTER CONCEPTS, LLC, ) (Proposed Lead Case)
)
Debtor. ) Chapter 11
IN THE MATTER OF: )
) Case No. 19-22401
TEXAZ CROSSROADS, LLC, )
dba CHERRY HALL, )
)
Debtor. ) Chapter 11
Joint Administration Requested )
IN THE MATTER OF: )
) Case No. 19-22399
TEXAZ TABLE RESTAURANT )
OF KS, LLC, dba URBAN TABLE, )
)
Debtor. ) Chapter 11
Joint Administration Requested )
IN THE MATTER OF: )
) Case No. 19-22402
TEXAZ SOUTH PLAZA, LLC, )
dba STOCK HILL, )
)
Debtor. ) Chapter 11
Joint Administration Requested )
IN THE MATTER OF: )
) Case No. 19-22403
TEXAZ PLAZA RESTAURANT, LLC, _)
dba GRAM & DUN, )
)
Debtor. ) Chapter 11
Joint Administration Requested )

 

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DECLARATION OF ALAN L. GAYLIN IN SUPPORT OF
CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

I, Alan L. Gaylin, hereby declare:

1. I am the Chief Executive Officer of Bread & Butter Concepts, LLC ("BBC");
the Chief Executive Officer of Texas Crossroads, LLC, d/b/a Cherry Hall ("Cherry Hall"),
the Chief Executive Officer of Texaz Table Restaurant of KS, LLC, d/b/a Urban Table
("Urban Table"), the Chief Executive Officer of Texaz South Plaza, LLC, d/b/a Stock Hill
("Stock Hill") and the Chief Executive Officer of Texaz Plaza Restaurant, LLC, d/b/a Gram
& Dun ("Gram & Dun"). In these capacities, I am familiar with the day-to-day operations,
business and financial affairs of these entities since at least 2009 or their subsequent
formation.

Ds On the date hereof (the "Petition Date"), each of the Debtors filed with this
Court a voluntary petition for relief under Title 11 of the United States code, 11 U.S.C. § 101,
et seg. (the "Bankruptcy Code"). To enable the Debtors to operate effectively and minimize
any disruption caused by the commencement of these Chapter 11 cases, the Debtors have
requested certain relief in "first day" motions and applications filed with this Court
(collectively, the "First Day Pleadings"). Among other things, the First Day Pleadings seek to
ensure the continuation of the Debtors' cash management system and other business
operations without interruption, authorize the use of cash collateral, and establish certain other
administrative matters to facilitate the transition of the Debtors into Chapter 11. The relief
requested in the First Day Pleadings is critical to the Debtors' effective reorganization and to

prevent immediate and irreparable harm to the Debtors and their estates.

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3. I submit this declaration to assist the Court and other interested parties in
understanding the relevant facts and circumstances that led to the commencement of the
Debtors' Chapter 11 cases and in support of the First Day Pleadings.

4. I have reviewed the facts set forth in each of the First Day Pleadings and attest
to the material accuracy thereof. Except as otherwise indicated, all facts set forth herein are
based on my personal knowledge, my discussions with other employees or members of the
Debtors' management, my review of relevant documents and books and records of the
Debtors, or my opinion based on my experience, knowledge and information concerning the
Debtors' operations and financial affairs. If called upon to testify, I would testify competently

to the facts set forth in this Declaration. I am authorized to make this Declaration on behalf of

each of the Debtors.
I. BACKGROUND
A. Owners and Founders

BBC was started by Alan L. Gaylin (Founder & CEO) and is owned and operated by
Alan L. Gaylin and Glynn & Jean Roberts.

A veteran in the restaurant industry, Founder & CEO Alan L. Gaylin’s passion for
restaurants started in Texas at a young age and continued to grow through his college years
and early career. In addition to holding positions as Owner/Operator, Director of Operations,
Vice President of Business Development and Managing Partner for various restaurant
companies, he was an important part of the conceptual rebranding of the Houlihan’s restaurant

concept, where he served as Chief Operating Officer, Senior Vice President of Operations, and

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Divisional Vice President. This variety of experience and passion for restaurateur-ship inspired
him to create his version of the ideal restaurant group, and BBC was bom.
B. Organizational Vision

Creating new concepts that are new to markets, establishing ambience, and forging
culinary trends served as the basis for opening the first restaurant. The goal was to bring a
local business to a market that was right both economically, and coupled with a focus on
meeting the consumer need for new breed of "hospitality."

It was the BBC goal to build successful restaurants the old-fashioned way — through
hard work, forward thinking, and a genuine passion for excellent food, libations and
hospitality. The main vision for the company was to not only be dedicated to fine food and
service, but to also providing an organization that employees have passion for because they
are truly respected and appreciated because they are an integral part of the business.

Being part of and giving back to the community was another key ingredient and goal.
Over time the company has donated hundreds of thousands of dollars for fundraisers
benefitting causes ranging from local schools, to the Leukemia & Lymphoma Society,
Make-A-Wish Foundation, Harvesters Community Food Network, Alzheimer’s Association,
and the March of Dimes. Other community involvements have included Jazzoo, Treads &
Threads, and Forks & Corks.

C. Vision Becomes Reality

BBC was established in 2009 with the announcement of its first restaurant concept,
BRGR Kitchen + Bar, which is located in Prairie Village, Kansas. BRGR brings a fresh
adaptation of the most classic restaurant concept — an upscale burger joint with a 21st

century adaptation. Opening in March of 2010 the business got off to a positive start and

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continued growth. BRGR was awarded Best New Restaurant 2010 and later as one of the top
100 Burgers in America.
D. Organizational Growth

In August of 2011, the company opened its second restaurant concept, Urban Table,
which is located in the same shopping center as the original BRGR location in Prairie Village.
Urban Table is a modern American bistro with menu items that are created from scratch with
fresh, seasonal ingredients and a little love from the chef-driven kitchen. Urban Table
combines the best qualities of dine-in or take-out, brunch-and-lunch shop, and an evening spot
that creates unique small plates and entrees.

The company wasted no time with a unique opportunity to launch their third restaurant
concept. Gram & Dun, named after the wives of Gaylin and Glynn Roberts, was opened in
November of 2011 at the Country Club Plaza. Kansas City’s original gastropub offering a
casual-meets-refined atmosphere. A very important factor was the reconstructed patio with
firepits that overlooks Brush Creek and has great views. Gram & Dun has been a top KC
restaurant for seven years winning multiple awards including 2012 Best New Restaurant, One
of Top 100 Patios in America, and multiple outstanding Chef awards. The restaurant has
established one of the finest bar programs in the Midwest with some nationally recognized
cocktails.

With the success of the first BRGR location the company then went on to open two
additional locations, one in the Power & Light District in downtown Kansas City in July 2013,
and a third location in Leawood, KS, that opened in September of 2016. The downtown
market was a main focus of city growth, and when an economic opportunity was presented,

BBC decided to enter as an established unit in that part of the city.

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In 2013, BBC added a fully functioning catering and mobile restaurant, the Taco
Republic Truck, to their portfolio. Offering a variety of street tacos, fresh salsas, guacamole,
and queso, the truck quickly became a huge hit at local events and private parties around
Kansas City. Shortly after the truck was up and running, the company opened a brick and
mortar restaurant, Taco Republic, in Kansas City, KS. Taco Republic is a laid-back, original
style taqueria that brings guests a diversity of flavors from Mexican streets and marketplaces
where homemade "street-style" tacos originated.

In August of 2015, the company launched its fifth concept, Republica, A modern
Spanish tapas concept located just around the corner from Gram & Dun at the Country Club
Plaza on Jefferson Street. As the Tapas concept was growing quickly throughout the country
and with only one such concept in KC, BBC felt the Spanish themed Plaza to be the perfect
location for the concept. Unfortunately, the concept did not meet expectations and was closed
to re-concept to a new restaurant. It re-opened as The Oliver, a refined version of an American
tavern serving time-honored classic cuisine and refreshments. The Oliver opened in June of
2016.

In early 2016 BBC announced the opening of Stock Hill a Kansas City Steakhouse
located in the former Board of Trade building just south of the Country Club Plaza at 4800
Main Street. The Modern version of a sophisticated, polished steakhouse was the developed by
Gaylin to bring a Steakhouse that featured the great beef from the Midwest coupled with an
urban ambiance. The restaurant opened in late November 2016. The 14,000 sq. ft. restaurant
features a two- story dining room built around a colossal bar and lounge, offering guests a

striking ambiance that is dedicated to providing a remarkable dining experience. The

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restaurant has received a number of accolades, three years in a row named as one of the Best
31 Steakhouses in America and the AAA Four Diamond.

In July 2016, BBC opened a new Corporate Headquarters in the Crossroads Arts
District in Kansas City, MO. The multi-use space is located at 1720 Cherry Street. BBC’s
headquarters houses three entities: the executive team, a new event center named Cherry Hall
(opened July 2018) and Missing Ingredient, an urban farm. BBC’s Cherry Hall event center is
also the home to the company’s R&D kitchen that acts as the event and catering kitchen and
test kitchen for BBC restaurants.

E. Community Position and Restaurant Sale

With six restaurant concepts, an event center and a catering service, BBC had become a
staple in the Kansas City culinary scene. Efficient service, a soothing vibe and outstanding
cuisine are to be expected at each of the restaurants. In early 2019 an offer was made to buy
some of the existing units. That sale was completed in April 2019 selling all three BRGR
locations, the Taco Republic and Taco Republic Food Truck.

F. Organizational Structure and Overview of BBC’s Operations

Presently, BBC is made up of three restaurants and an event space;

Urban Table, 8232 Mission Rd, Prairie Village, KS;
Gram & Dun, 600 Ward Parkway, Kansas City, MO;
Stock Hill 4800 Main Street, Kansas City, MO; and
Cherry Hall, 1720 Cherry Street, Kansas City, MO.

BBC, a Missouri limited liability corporation, is the sole owner of one Kansas limited
liability company and four Missouri limited Liability companies (each an "Operating Entity"
and, collectively, the "Operating Entities"), of which it currently owns and operates the

restaurants identified above. All the restaurants are leased by the relevant Operating Entity

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from a third-party landlord, many with guaranties from the partners. BBC generally manages
the operations of the Operating Entities including, but not limited to, providing approximately
six corporate-level employees. There are over 200 restaurant-level employees and managers.
G. Capital Structure

Debtors' principal secured creditor is Core Bank with an SBA loan in the aggregate
outstanding amount as of the Petition Date of approximately $1.4 million secured by all of the
depository accounts and the assets at Urban Table owned and operated by the Debtors. In
addition, the Debtors directly or indirectly have separate equipment lease loans with
Commercial Capital in the aggregate outstanding principal amount of approximately $425,000
secured by the assets of the restaurant directly.

Each Operating Entity pays all accounts payable, utilities, taxes, and insurance
attributable to each such entity. BBC being the parent company has expenses that exceed the
profitability of that entity, therefore those deficits are paid from the operating entities prorated
by sales percentage.

H. Restaurant Industry and Competition

The food service industry includes all types of establishments that prepare food outside
of the home. This includes a wide variety of full service, fast food, fast casual, cafeteria, and
catering companies.

The full service restaurants are an $860 billion-dollar industry with more than half of
adults having worked in food service in some way or another. Restaurants employ both front
of the house and back of the house staff. The former includes bartenders, wait staff, hosts, and
bus persons. Staff includes managers, chefs, cooks, and dishwashers.

The trend of food trucks adds a mobile component to food service.

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There are 15.1 million restaurant industry employees in the United States. 1.6 million
new restaurant jobs will be created by 2028. The restaurant workforce makes up 10% of the
overall U.S. workforce.

These numbers suggest steady employment for workers. However, the food industry is
tied to the economy. When the economy cycles, people tend to cut back on what they perceive
as luxuries, which can include dining out. The Restaurant Brokers' study, the only one to make
a distinction between chain and independent restaurants, concluded that up to 90 percent of
independent establishments close during the first year, and the remaining restaurants will have
an average five-year life span.

The industry is tumultuous and faces many challenges, including:

a. Recruiting and maintaining employees is a top challenge. Competition
for employees is intense and there are many job openings that are hard to fill. The
prolonged economic expansion has led to a tighter labor market in many industries, but
the restaurant industry faces unique challenges. Restaurant industry growth creates
more jobs, but there are less qualified employees available especially in the late teens
and millennial markets. Ultimately, the industry is paying more for less skilled labor,
and spending more on training as turnover is high.

b. New laws for medical insurance have cost medium-sized companies to
suffer huge increases. To compete for top managers, higher salaries and full insurance
plans must be offered, sometimes for the entire family. With rising medical costs, it
adds up to significant cost increases.

c. Competition between restaurants is intense, with dining options

abounding. And, while there are certainly dominant players in this industry, no one

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company has the market cornered. Indeed, virtually every restaurant location must

compete not only against other chains, but also a wide array of small, local

establishments.

d. Increasing costs include property/casualty insurance and workman’s
comp, food and beverage, equipment purchases and repairs, and small wares. With cost
increases to continue to pass on to the consumer it results in the product will no longer
retaining value. The small and middle-sized companies do not have the buying power
to compete in pricing.

I. Recent Financial Performance

The Debtors’ operate on a 52-week fiscal year basis. For same store sales for the fiscal
year ending September 2019, the Debtors' gross revenue from all operations are approximately
$9 million down by about 12.4 percent from fiscal year 2018 revenues of approximately $10.4
million.

For the fiscal year ending December 31, 2018, the Debtors’ gross revenue from all
operations were approximately $24.3 million, down by about 12.4 percent from fiscal year
2017 revenues of approximately $27.9 million. The economic changes are certainly a large
factor as with the growth of the market — in 2016/2017 the competition increased dramatically.
The growth of the market in all areas was not able to sustain the added number of seats in all
sectors of the restaurant industry. Declining sales along with increased business costs have
burdened the business significantly.

J. Events Leading to Bankruptcy
Beginning in 2015, as the oil business shifted dramatically, the Investment Manager

whose ongoing primary business was no longer able to fund the growth or losses of the BBC

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business. We had already committed to four separate projects: (1) recreating Republica to the
now closed Oliver; (2) opening a third BRGR location in Leawood, KS; (3) opening the BBC
new offices; and (4) event center, and the opening of the Stock Hill steakhouse.

Some small financing limited secured from Mobank for short term help, but not the
amount needed to fully fund these projects. A refinance through an SBA loan was secured
from Core Bank in early 2018 to fund the payoff of the BBC project and reduce some vendor
debt, but with the larger declining sales, our position worsened quickly. In April 2019, the
three BRGR and one Taco Republic restaurant were sold for $3.25 million. Payment of liens,
vendors, employees, sales tax and reduced the bank debt by $1.75 million. No proceeds were
taken by partners. When completed there was still significant outstanding debt on the
remaining entities and with continuing 12-15 percent declines in sales, the debt grew and
became a significant burden on the Debtors.

Despite the 2017-18 sales decline, there were no payment defaults to the lenders. This
prompted the Debtors to communicate with various landlords about these matters. The Debtors
requested assistance from these landlords in addressing declining cash flow to date. There
were no sufficient landlord concessions and discussions are continuing with various other
landlords. The restaurant most affected by the significant economic slump was The Oliver.
Sales at this restaurant declined precipitously between Jan and October of 2019. After
subsidizing weak sales at this location and not being able to pay the rent required under the
lease, and after some efforts to renegotiate the lease with (Taubman) the Landlord, the

restaurant was closed in October, 2019.

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K. The Chapter 11 Cases

Notwithstanding the current economic conditions, the significant debt burden
incurred by the Debtors noted above, and a potential significant claim by Taubman regarding
The Oliver lease, if permitted to continue bin business the Debtors believe that they can
substantially pay all of their obligations over time. But they need the protection and benefits
available under the Bankruptcy Code to confirm a plan of reorganization.

II. First Day Pleadings
A. Administrative Motions

1. Joint Administration. The Debtors seek entry of an order jointly administering
these cases for procedural purposes only. This relief is requested to facilitate handling these
cases as efficiently and effectively as possible. Of particular significance is that BBC and
Cherry Hall have virtually identical creditors and integrated operations. Additionally, Core
Bank, US Foods and other creditors are common creditors in all five cases.

2. Motion to Limit Notice and Establish Noticing Procedures. As a procedural
matter, the Debtors request that the Court enter an order which establishes minimum noticing
requirements for all proceedings herein. With so many parties-in-interest, the Debtors will
incur substantial expense in copying costs, postal charges and other handling expenses relative
to large mailings frequently required by the normal notice provisions in the Bankruptcy Code
and the Bankruptcy Rules. Many pleadings and notices often involve merely administrative
and housekeeping matters that do not directly or adversely affect the substantive rights of most
creditors and interested parties. Thus, by establishing the minimum notice requirements, the
administrative expenses incurred in the Chapter 11 cases can be greatly reduced without

prejudice to the numerous parties-in-interest.

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3. Motion Establishing Bar Dates for Filing Proofs of Prepetition Secured and
Unsecured and § 503(b)(9) Administrative Expense Claims. The circumstances of these
Chapter 11 Cases justifies fixing the Bar Dates as at the time of the filing of this case, the
Debtors have in excess of 140 creditors. It is essential for the Debtors to quickly ascertain the
full nature, extent and scope of the Claims asserted against the estates, as the Debtors expect to
emerge from Chapter 11 as expeditiously as possible. Accordingly, the Debtors request that
the Court set the Bar Dates for the filing of Claims against the Debtors’ estates.

To this end, the Debtor requests that the Court set December 20, 2019, as the General
Bar Date for filing Claims, which is more than 35 days after the Debtor filed its petition.

Prior to the Petition Date and in the ordinary course of its Business, the Debtor
purchased a wide variety of goods used in their business operations, including, among other
things, various food and beverage, including liquor, beer and wine, and other goods used in the
ordinary course of its Business (collectively, the "Goods"). Such Goods are received by the
Debtor on a regular basis.

In the 503(b)(9) Motion, the Debtor seeks entry of an order pursuant to Sections 105(a)
and 503 the Bankruptcy Code and Bankruptcy Rules 3002 and 3003 establishing exclusive
procedures for the assertion of any claims under Section 503(b)(9) of the Bankruptcy Code.

This usual process of deferring claims litigation to later in a Chapter 11 case avoids
burdening the Debtors with claims litigation during the early stages of a case, when the
Debtors face a host of pressing financial, operational, and structural issues. Moreover, by
employing the customary claims administration process in this case, the Debtors will be able to

structure the claims review process to maximize efficiency.

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B. Operational Motions

1. Motions to Pay Certain Pre-Petition Wages, Taxes, and Pre-Petition Operating
Expenses. The Debtors seek Court authority to pay the pre-petition wages to ensure the morale
of their employees, to prevent any interruption of their operations through loss of employees
and to prevent loss of business and assets, especially during the upcoming holiday season. The
Debtors also seek authority to pay certain taxes that had been collected but not yet paid to the
various taxing authorities to avoid those taxing authorities from attempting to suspend, file
liens or pursue other immediate remedies against the Debtors. Additionally, the Debtors seek
authority to pay certain pre-petition operating expenses in connection with certain critical
vendors in exchange for an agreement with those identified critical vendors to continue
supplying goods and services necessary to continue operations. The Debtors are not seeking to
pay all pre-petition claims of identified critical vendors immediately as set forth in the motion.

2. Cash Management Motion. The Debtors seek entry of an order allowing the
Debtors to maintain their existing cash management system, including existing bank accounts
and business forms. Maintaining this system is critical to facilitate ongoing operations,
particularly since the case in those accounts mostly is for the benefit of the Operating Entities.

3. Cash Collateral and Prepetition Obligations Motions. The Debtors maintain
bank accounts that are pledged to Core Bank and other lenders. The Core Bank accounts
collect credit card receipts made by each Debtor for operating and payroll expenses. In order
to address the capital needs and fund the Debtors’ restructuring efforts, Debtors also require
the use of cash collateral as defined under Section 363 of the Bankruptcy Code (the "Cash
Collateral"). The use of Cash Collateral will provide Debtors with the necessary capital with

which to operate its businesses, pay its employees, maximize value and pursue reorganization

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under Chapter 11. Debtors respectfully submit that the adequate protection proposed in the
Cash Collateral Motion is fair and reasonable and sufficient to satisfy the requirements of
Sections 363(c)(2) and (e) of the Bankruptcy Code.

4. Motion to Prohibit Utilities from Altering, Refusing or Discontinuing Services
on Account of Prepetition Invoices. Debtors currently use electric, natural gas, heat, water,
sewer, waste removal, cable, phone and other similar services provided by multiple utility
companies. Debtors’ utility companies provide traditional utility services related to the day-to-
day operation of the various restaurant operations and offices. Debtors estimate that its
aggregate average monthly obligations to the utility companies on account of services rendered
total approximately $80,000 based on the average monthly payments made to the various
utility companies. Debtors believe that it is generally current on all prepetition obligations due
the utility companies, other than the accrued, but unbilled, prepetition obligations for utility
services.

Uninterrupted utility service is essential to Debtors' ongoing restaurant operations.
Debtors could not operate its restaurants in the absence of continuous utility service. Should
any utility company refuse or discontinue service, even for a brief period of time, Debtors may
be forced to cease its operations, resulting in a substantial disruption of its business and loss of
revenue. The temporary or permanent discontinuation of utility services would irreparably
harm Debtors.

I declare under penalty of perjury that the foregoing is true and correct.

Dated this 9" day of November 2019. Ab Le).

Alan L. Gaylin, Chief Exegitive Officer

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